       Case 1:08-cr-00056-SM      Document 51    Filed 01/08/09   Page 1 of 2




                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                              Case No. 08-cr-56-01/04-SM

Raymond Cole and Garret Morin

                                    ORDER

      Defendant Garret Morin has filed a motion to continue the final pretrial

conference and trial (document no. 50). Trial has been rescheduled for the

April 2009 trial period. Defendant Morin shall file a waiver of speedy trial

rights not later than January 23, 2009. On the filing of such waiver, the

continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: April 10, 2009 at 1:30 p.m.

      Jury Selection: April 21, 2009 at 9:30 a.m.
      Case 1:08-cr-00056-SM    Document 51   Filed 01/08/09   Page 2 of 2




      SO ORDERED.



                                   ____________________________
                                     Steven J. McAuliffe
                                     Chief Judge


January 8, 2009

cc:   Donald Kennedy, Esq.
      Charles Keefe, Esq.
      Michael Iacopino, Esq.
      Paul Twomey, Esq.
      Terry Ollila, AUSA
      US Probation
      US Marshal




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